                         Case 3:21-mj-00084-UNA                       Document 1                08/25/21 Page 1 of 24
AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                       Middle District
                                                     __________        of of
                                                                District  Louisiana
                                                                             __________

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )              Case No. 21-MJ-84
              THE PROPERTY LOCATED AT                                        )
                  2505 McHUGH ROAD,                                          )
                BAKER, LOUISIANA 70814
                                                                             )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
                                  SEE ATTACHMENT "A"

located in the               Middle               District of                 Louisiana                        , there is now concealed (identify the
person or describe the property to be seized):
                                  SEE ATTACHMENT "B"


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               u
               ✔ contraband, fruits of crime, or other items illegally possessed;
               u
                 u property designed for use, intended for use, or used in committing a crime;
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                                  Offense Description
        18 §371                                   Conspiracy
        18 §922(n)                                Receipt of a Firearm while Under Felony Indictment
        18 §922(a)(6)                             False Statements to a Federally Licensed Firearms Dealer
          The application is based on these facts:
                             SEE ATTACHED AFFIDAVIT

           ✔ Continued on the attached sheet.
           u
           u Delayed notice of        days (give exact ending date if more than 30 days:                                            ) is   requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

                                                                                 ALTON CAMBRE Digitally signed by ALTON CAMBRE
                                                                                              Date: 2021.08.25 21:18:34 -04'00'

                                                                                                             Applicant’s signature

                                                                                                            Alton Cambre, ATF
                                                                                                             Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                      telephone                       (specify reliable electronic means).


Date:            08/25/2021                                                                              S      Judge’s signature

City and state: Baton Rouge, Louisiana                                                       Scott D. Johnson, U.S. Magistrate Judge
                                                                                                             Printed name and title
            Case 3:21-mj-00084-UNA         Document 1      08/25/21 Page 2 of 24




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF LOUISIANA

IN THE MATTER OF THE SEARCH                    :
OF THE PROPERTY LOCATED                        :           21-mj- 84
AT 2505 McHUGH ROAD,                           :
BAKER, LOUISIANA 70814                         :      (UNDER SEAL)

                            AFFIDAVIT IN SUPPORT OF AN
                            APPLICATION FOR A SEARCH
                                    WARRANT

       I, Alton J. Cambre, being duly sworn and deposed, state the following:

I.     INTRODUCTION AND AGENT BACKGROUND

       1.     I make this affidavit in support of an application for a search warrant under Rule

41 of the Federal Rules of Criminal Procedure for a warrant to search the premises known

located at 2505 McHugh Road, Baker, Louisiana, 70714, hereinafter “SUBJECT

PREMISES,” further described in Attachment A, for the things described in Attachment B.

       2.     Based on the facts set forth in this affidavit, I believe that the target of this

investigation, JAYLON JAMARE SMULLEN (“SMULLEN”) (B/M; D.O.B. 06/07/2000),

has committed, is committing, or continues to commit, violations of Title 18, United States

Code, Section 922(n) (receiving firearm(s) while under a felony bill of information); Title 18,

United States Code, Sections 371 and 922(a)(6) (conspiring to provide false information to a

federally licensed firearms dealer (“FFL”) to order to illegally obtain firearm(s)), among other

crimes. (“TARGET OFFENSES”). Further, there is also probable cause to search the places

described in Attachment A for evidence, instrumentalities, and/or fruits of these crimes

further described in Attachment B.
             Case 3:21-mj-00084-UNA        Document 1       08/25/21 Page 3 of 24




       3.      I am a Special Agent with the United States Department of Justice, Bureau of

Alcohol, Tobacco Firearms and Explosives (“ATF”) and have been so employed since

September of 1998. I am a graduate of the Federal Law Enforcement Training Center and the

ATF National Academy in Glynco, Georgia. I am currently assigned to the Baton Rouge,

Louisiana Field Office. I have been trained in conducting investigations into violations of

Federal firearms, explosives and arson laws.

       4.      During my tenure with ATF I have been involved in various degrees and

capacities with numerous investigations, including: the illegal possession of firearms by

convicted felons; the possession and use of firearms by narcotics traffickers; illegal sale or

possession of machineguns and short-barrel shotguns or rifles; arsons of structures which

affect interstate commerce; the manufacturing and dealing of firearms without a license; and

the manufacturing, possession, or use of illegal explosive devices.

       5.      This affidavit is intended to show only that there is sufficient probable cause for

the requested warrant and does not set forth all of my knowledge about this matter.

       6.      Based upon my own personal knowledge and information I have received from

other Agents, Federal Firearms Licensees, law enforcement officers and citizens, I state the

following:

II.    PREMISES TO BE SEARCHED

       7.      The SUBJECT PREMISES, namely, 2505 McHugh Road, Baker, Louisiana,

70714, is a one-story, single family red brick home with an attached carport, which is believed

to be occupied by SMULLEN, his girlfriend Scottriana Walker (D.O.B. 3/13/01), and their




                                                2
             Case 3:21-mj-00084-UNA       Document 1     08/25/21 Page 4 of 24




three (3) year old child, Jayceon Smullen (D.O.B. 5/6/18). The SUBJECT PREMISES is

more fully described in Attachment A.

III.   FACTS ESTABLISHING PROBABLE CAUSE

       8.      There is probable cause to believe that SMULLEN committed the TARGET

OFFENSES, and the evidence, fruits, and instrumentalities of these crimes will be found at the

SUBJECT PREMISES.

       9.      On August 11, 2021, J.P., the owner of B&J Pawn Shop in Denham Springs,

contacted your Affiant regarding an individual who had made several large purchases of AR-

15 type lower receivers in approximately the past two months. J.P. provided the purchaser

information, which identified the individual as Kendrick O’Nell Hart (“Hart”) (B/M, D.O.B.

2/21/82) who resides at 4148 Sherwood Street Baton Rouge, Louisiana. J.P. stated that Hart

ordered the receivers from distributors and had them delivered to B&J Pawn for transfer.

       10.     According to J.P., on June 5, 2021, Hart purchased twenty (20) AR-15 lower

receivers; on June 30, 2021, Hart purchased seventeen (17) AR-15 lower receivers. J.P. stated

that Hart made a third purchase of fifty (50) receivers that had been shipped to B&J Pawn. As

of August 11, 2021, Hart had not completed the required background check and therefore he

had not received the third shipment of receivers.

       11.     On August 12, 2021, your Affiant met with J.P. at B&J Pawn and obtained

copies of the transaction forms for the first two orders of receivers that were completed by

Hart. Approximately an hour and a half after leaving B&J Pawn, J.P. contacted agents and

said that Hart was in the pawn shop completing transaction forms for the third order of

receivers.



                                              3
             Case 3:21-mj-00084-UNA       Document 1     08/25/21 Page 5 of 24




       12.     Your Affiant returned to the area near B&J Pawn and asked J.P. to identify

Hart’s vehicle. When Hart left the building, J.P. contacted your affiant and advised that that

Hart drove a black Nissan with red rims. At that time, your Affiant observed a black male exit

the building and get into the passenger side of a black Nissan with Texas license plate number

KPD 8526.

       13.     Your affiant conducted a criminal history check to determine if Hart was a

person prohibited from possessing a firearm.      On July 2, 2015, Hart was arrested for

Misdemeanor Domestic Abuse with Child Endangerment. On May 15, 2016, Hart was

arrested for Misdemeanor Domestic Abuse Battery. Your Affiant contacted Baton Rouge City

Court’s Clerk of Courts Office and was advised that both charges had been dismissed.

       14.     On August 20, 2021, your affiant and ATF Special Agents Daniel Green and

Justin Hutchison interviewed Hart at 4148 Sherwood Street in Baton Rouge. Hart stated that

an individual, who he later identified as SMULLEN, ordered the AR-15 receivers in Hart’s

name and had them delivered to B&J Pawn located at 700 Florida Avenue SW, Denham

Springs, Louisiana 70726. Hart stated that SMULLEN drove him to B&J Pawn so that Hart

could complete the transaction form and background check required to purchase the receivers.

Hart said that his background check was delayed for each of the transactions.

       15.     Based on affiant’s training and experience, a purchaser must wait three (3)

business days before a firearm can be transferred when a background check is delayed. Each

time, after waiting the three days required by law, SMULLEN drove Hart back to B&J Pawn

to obtain the receivers on his behalf.

       16.     Hart said that SMULLEN also drove him to Spillway Sportsman, another

federally licensed firearms dealer located in Port Allen, Louisiana, where Hart purchased more

                                              4
             Case 3:21-mj-00084-UNA       Document 1      08/25/21 Page 6 of 24




lower receivers for SMULLEN. Hart said that each time, after he purchased receivers,

SMULLEN would bring Hart home and then SMULLEN would leave with the receivers in

his vehicle.

       17.     Hart identified SMULLEN’s vehicle as a black Nissan and stated that

SMULLEN was the sole occupant in the vehicle.

       18.     In affiant’s training and experience, persons who are prohibited from possessing

or receiving firearms often engage “straw purchasers,” or individuals who are not prohibited,

who can illegally purchase a firearm for the prohibited person while falsely claiming that the

firearm is their own.

       19.     A criminal history check revealed that on December 8, 2020, SMULLEN was

charged by bill of information with six (6) counts of Attempted First Degree Murder, Illegal

Use of Weapons and Dangerous Instrumentalities, and Aggravated Criminal Damage to

Property in 19th JDC Docket #DC-20-06029.

       20.     On August 20, 2021, your affiant obtained a copy of a Bill of Information.

According to court records, SMULLEN’s pending felony charges have not been resolved.

Therefore, SMULLEN remains prohibited from receiving a firearm.

       21.     In my training and experience, AR type lower receivers constitute “firearms” as

defined by 18 United States Code 921(a)(3). The term firearm means (A) any weapon

(including a starter gun) which will or is designed to or may readily be converted to expel a

projectile by the action of and explosive: (B) the frame or receiver of any such weapon; (C)

any firearm muffler or firearm silencer; or (D) any destructive device.




                                               5
             Case 3:21-mj-00084-UNA          Document 1   08/25/21 Page 7 of 24




       22.     SMULLEN was released on bond in October 2020. Based on information

obtained through surveillance and open records searches, Agents had cause to believe that

SMULLEN did not reside at the address provided when he was released.

       23.     On August 25, 2021, your Affiant submitted an application for a warrant

authorizing the installation and monitoring of a tracking device in a package prepared by

agents with the ATF Baton Rouge Field Office. The tracking warrant was signed by this

Honorable Court and executed the same day.

       24.     The package, which was shipped to B&J Pawn on 8/11/21 contained 50 AR-15

type firearm receivers addressed to customer Kenrick Hart. The receivers were removed from

the box by B&J Pawn for inventory and verification. The receivers were withheld from the

package and replaced with packing materials consistent with the weight of the receivers. The

tracking device was placed inside of the box.

       25.     ATF agents conducted surveillance and arranged, as planned, for the controlled

delivery of the package to SMULLEN.

       26.     SMULLEN and Hart arrived at B&J Pawn in a black, 4 door, Nissan Maxima

bearing Texas license plate KPD 8526 (hereinafter “the vehicle” or “SMULLEN’s vehicle”).

Hart retrieved the package from B&J Pawn and returned to SMULLEN’s vehicle. The parties

placed the package in the trunk of SMULLEN’s vehicle.

       27.     The pair left B&J Pawn with the package in the trunk of the vehicle.

SMULLEN then drove Hart to home located at 4148 Sherwood Street in Baton Rouge. Hart

got out of the vehicle and went inside the house. SMULLEN left Hart’s residence with the

package still in the trunk of the vehicle.



                                                6
              Case 3:21-mj-00084-UNA       Document 1      08/25/21 Page 8 of 24




        28.     Law enforcement officers from several agencies coordinated surveillance and

tracking of the vehicle and the package.      East Baton Rouge Parish Sheriff’s (“EBRSO”)

deputies followed SMULLEN in unmarked units from Hart’s residence. EBRSO observed

SMULLEN drive north towards Baker, Louisiana.

        29.     SMULLEN made a stop for gas before his driving pattern became more erratic.

SMULLEN ultimately arrived at SUBJECT PREMISES and pulled the vehicle into the

attached carport. EBRSO Deputies pulled into the driveway of the SUBJECT PREMISES

in their unmarked units.

        30.     When affiant arrived at the SUBJECT PREMISES, affiant learned that

SMULLEN had been shot at some point after he arrived at the SUBJECT PREMISES. The

details of the shooting are yet unknown, and the matter is currently under investigation.

        31.     Law enforcement observed two firearms in plain view in the front of

SMULLEN’s car. Specifically, a compact Glock pistol with no magazine was observed on

the driver’s seat, and a second, as yet unidentified, handgun was observed on the passenger’s

seat.

        32.     The residence was occupied by Scottriana Walker, who identified herself to law

enforcement as SMULLEN’s girlfriend. She told law enforcement that she lives at the

residence with SMULLEN and their three (3) year old child, Jayceon Smullen. Ms. Walker

confirmed that the parties have lived at the residence for less than a year, and that no one else

resides in the home.

        33.     Based on the foregoing, your affiant submits that there is probable cause to

believe that SMULLEN committed the TARGET OFFENSES, and that the evidence, fruits,



                                               7
             Case 3:21-mj-00084-UNA        Document 1       08/25/21 Page 9 of 24




and instrumentalities of the TARGET OFFENSES will be located at the SUBJECT

PREMISES.

       34.     In addition, your affiant submits that there is good cause to execute the search

warrant at night.      Specifically, law enforcement has been present at the SUBJECT

PREMISES since the scene was secured at approximately 5:30 p.m.            As of 9:15 p.m., ATF

agents are still at the SUBJECT PREMISES while their state law enforcement partners

complete their own investigation(s).       Ms. Walker and her child have been temporarily

displaced from their home, ATF agents would request that the search warrant be executable at

night so that the family can return as soon as possible.

IV.    REQUEST FOR SEALING

       35.     I further request that the Court seal the warrant and the affidavit and application

in support thereof, except that copies of the warrant in full or redacted form may be maintained

by the United States Attorney’s Office and may be served on Special Agents and other

investigative and law enforcement officers of the ATF, federally deputized state and local law

enforcement officers, and other government and contract personnel acting under the

supervision of such investigative or law enforcement officers, as necessary to effectuate the

warrant. These documents pertain to and discuss an ongoing criminal investigation that is

neither public nor known to all the targets of the investigation. Accordingly, there is good

cause to seal these documents because their premature disclosure may seriously jeopardize the

investigation. Sealing these documents will also better ensure the safety of agents and others.




                                                8
            Case 3:21-mj-00084-UNA        Document 1      08/25/21 Page 10 of 24




VI.   CONCLUSION

      36.      I submit that this affidavit supports probable cause for a warrant to search the

SUBJECT PREMISES, for evidence, instrumentalities, and/or fruits of the TARGET

OFFENSES as further described in Attachment B.

      37.      In consideration of the foregoing, I respectfully request that this Court issue a

search warrant for the SUBJECT PREMISES, authorizing the search of this location, as

described more fully in Attachment A and the seizure of items described in Attachment B.



                                                   Respectfully submitted,
                                                                      Digitally signed by ALTON
                                                    ALTON CAMBRE      CAMBRE
                                                                      Date: 2021.08.25 22:52:09 -04'00'

                                                   Alton Cambre
                                                   Special Agent
                                                   Alcohol, Tobacco, Firearms and Explosives



       Affidavit submitted by email/.pdf and attested to me as true and accurate by
telephone consistent with Federal Rules of Criminal Procedure 4.1 and 41(d)(3) on
August ______,
         25     2021.



                                  S
                             _________________________________________
                             SCOTT D. JOHNSON
                             UNITED STATES MAGISTRATE JUDGE
                             MIDDLE DISTRICT OF LOUISIANA




                                               9
          Case 3:21-mj-00084-UNA         Document 1      08/25/21 Page 11 of 24




                                    ATTACHMENT A

                                  Property to be searched


       The property to be searched a private residence located at 2505 McHugh Road, Baker,

Louisiana, 70714.     The home is believed to be occupied Jaylon Jamare Smullen,

(“SMULLEN”) (B/M; D.O.B. 06/07/2000), his girlfriend, Scottriana Walker (D.O.B.

3/13/01), and their three (3) year old child, Jayceon Smullen (D.O.B. 5/6/18). (“SUBJECT

PREMISES”).

       The SUBJECT PREMISES is further described as follows:

       A one-story, single family red brick home with a tin roof and navy siding and trim. The

numbers “2505” are visible and affixed above the front door. The home has an attached carport

with a black Nissan Maxima bearing Texas license plate KPD 8526. The home is located in a

rural area of Baker, Louisiana.

       The search of the SUBJECT PREMISES shall include the vehicle identified as a black

Nissan Maxima bearing Texas license plate KPD 8526, all rooms, extend into desks, cabinets,

safes, briefcases, purses, trash receptacles, and other storage locations at or within the

SUBJECT PREMISES, such as any sheds or storage structures located on the property of the

SUBJECT PREMISES, in which items in attached Attachment B may be found.

       The following are photographs of the SUBJECT PREMISES:
Case 3:21-mj-00084-UNA   Document 1   08/25/21 Page 12 of 24




                            2
Case 3:21-mj-00084-UNA   Document 1   08/25/21 Page 13 of 24




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Case 3:21-mj-00084-UNA   Document 1   08/25/21 Page 14 of 24




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            Case 3:21-mj-00084-UNA         Document 1    08/25/21 Page 15 of 24




                                     ATTACHMENT B

                                    Property to be seized


       1.      All evidence relating to violations of Title 18, United States Code, Sections

922(n) (receiving firearm(s) while under a felony bill of information); Title 18, United States

Code, Sections 371 and 922(a)(6) (conspiring to provide false information to a federally

licensed firearms dealer (“FFL”) to order to illegally obtain firearm(s)), among other crimes.

(collectively, the “TARGET OFFENSES”), those violations involving SMULLEN and

occurring after June 5, 2021, including:

   a. Firearms, ammunition, explosives, destructive devices, or components of firearms,

       ammunition, explosives, or destructive devices;

   b. Any records of past, present or future firearms purchase/sale transactions, ledgers or

       logs containing information about firearms or explosive components transactions and

       manuals;

   c. Any records relating to registrations or taxes relating to firearms, destructive devices,

       or explosives;

   d. Records or evidence related to residency, occupancy, and/or ownership of the property

       being searched, including any surveillance cameras or equipment at the residence;

   e. Photographs or videos related to firearms, explosives, destructive devices and/or

       components, including any photographs or video captured by surveillance equipment.
      Case 3:21-mj-00084-UNA         Document 1      08/25/21 Page 16 of 24




f. Any computers, smart phones, or any other electronic media that were or may have

   been used as a means to commit the offenses described in the warrant, including usage

   of these devices to purchase firearms or conspire with others to do so.




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                             Case 3:21-mj-00084-UNA                      Document 1      08/25/21 Page 17 of 24
                                                                                      ✔ Original
                                                                                      u                         u Duplicate Original
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                                           UNITED STATES DISTRICT COURT
                                                                          for the
                                                             Middle District
                                                          __________ DistrictofofLouisiana
                                                                                  __________

                  In the Matter of the Search of                             )
             (Briefly describe the property to be searched                   )
              or identify the person by name and address)                    )      Case No. 21-MJ-84
                 THE PREMISES LOCATED AT                                     )
                    2505 McHUGH ROAD,                                        )
                  BAKER, LOUISIANA 70814                                     )

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To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                         Middle   District of            Louisiana
(identify the person or describe the property to be searched and give its location):
  SEE ATTACHMENT "A"

  This Court possesses the authority to issue this warrant under 18 U.S.C. Sections 2703(c)(1)(A) and 2711(3)(A)(i) and Federal
  Rule of Criminal Procedure 41.


        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  SEE ATTACHMENT "B"




        YOU ARE COMMANDED to execute this warrant on or before             September 6, 2021,          (not to exceed 14 days)
      u in the daytime 6:00 a.m. to 10:00 p.m. u at any time in the day or night because good cause has been established.
                                               x

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                         Scott D. Johnson                    .
                                                                                                   (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, the later specific date of                                   .


Date and time issued:           August 25, 2021, at 10:26 PM                                       S       Judge’s signature

City and state:             Baton Rouge, Louisiana                                        Scott D. Johnson, U.S. Magistrate Judge
                                                                                                         Printed name and title
                             Case 3:21-mj-00084-UNA                       Document 1      08/25/21 Page 18 of 24
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                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:
 21-MJ- 84
Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title
          Case 3:21-mj-00084-UNA         Document 1      08/25/21 Page 19 of 24




                                    ATTACHMENT A

                                  Property to be searched


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(“SMULLEN”) (B/M; D.O.B. 06/07/2000), his girlfriend, Scottriana Walker (D.O.B.

3/13/01), and their three (3) year old child, Jayceon Smullen (D.O.B. 5/6/18). (“SUBJECT

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numbers “2505” are visible and affixed above the front door. The home has an attached carport

with a black Nissan Maxima bearing Texas license plate KPD 8526. The home is located in a

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       The search of the SUBJECT PREMISES shall include the vehicle identified as a black

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Case 3:21-mj-00084-UNA   Document 1   08/25/21 Page 20 of 24




                            2
Case 3:21-mj-00084-UNA   Document 1   08/25/21 Page 21 of 24




                            3
Case 3:21-mj-00084-UNA   Document 1   08/25/21 Page 22 of 24




                            4
            Case 3:21-mj-00084-UNA         Document 1    08/25/21 Page 23 of 24




                                     ATTACHMENT B

                                    Property to be seized


       1.      All evidence relating to violations of Title 18, United States Code, Sections

922(n) (receiving firearm(s) while under a felony bill of information); Title 18, United States

Code, Sections 371 and 922(a)(6) (conspiring to provide false information to a federally

licensed firearms dealer (“FFL”) to order to illegally obtain firearm(s)), among other crimes.

(collectively, the “TARGET OFFENSES”), those violations involving SMULLEN and

occurring after June 5, 2021, including:

   a. Firearms, ammunition, explosives, destructive devices, or components of firearms,

       ammunition, explosives, or destructive devices;

   b. Any records of past, present or future firearms purchase/sale transactions, ledgers or

       logs containing information about firearms or explosive components transactions and

       manuals;

   c. Any records relating to registrations or taxes relating to firearms, destructive devices,

       or explosives;

   d. Records or evidence related to residency, occupancy, and/or ownership of the property

       being searched, including any surveillance cameras or equipment at the residence;

   e. Photographs or videos related to firearms, explosives, destructive devices and/or

       components, including any photographs or video captured by surveillance equipment.
      Case 3:21-mj-00084-UNA         Document 1      08/25/21 Page 24 of 24




f. Any computers, smart phones, or any other electronic media that were or may have

   been used as a means to commit the offenses described in the warrant, including usage

   of these devices to purchase firearms or conspire with others to do so.




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